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EXHIBIT B

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VOLUME III

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

IN RE:

Methyl Tertiary :MDL NO. 1358 (SAS)
Butyl Ether ("MTBE"):

Products Liability

Litigation

In Re:
City of New York

CONFIDENTIAL (Per 2004 MDL 1358 Order)

Continued CONFIDENTIAL
Videotaped Deposition of DAVID B. TERRY,
P.G., held in the law offices of
McDermott, Will & Emery, 340 Madison
Avenue in New York, New York, beginning
at approximately 9:34 a.m., before Ann
Vv. Kaufmann, a Registered Professional
Reporter, Certified Realtime Reporter,
Approved Reporter of the U.S. District
Court, and a Notary Public.

GOLKOW TECHNOLOGIES, INC.
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1 A. Well, I mean, within 1 specifically what that range of mass is,
2 the level of precision that we are 2 that's going to affect the ultimate
3 talking about, they are in the same 3 concentration. What we used was
4 range, both -- all these analyses are in 4 reasonable estimates of those masses,
5 the same range, so that's really what 5 but those masses aren't known.
6 I'm talking about, most likely. 6 Q. With regard to the
7 Q. And the level of precision 7 predictions of future concentrations of
8 is reflected by your projections in 8  MTBE in Station 6 using Analysis 2, did
9 scenarios 2A, 2B, and 2C? 9 you actually calculate a statistical
10 A. Well, those are just 10 confidence interval bounding those
11 different mass assumptions or mass 11 estimates?
12 ranges that we used in conducting 12 A. No, we did not.
13. Analysis 2. 13 Q. With regard to the MT3D
14 Q. Iwill ask the question 14 modeling that was performed for
15 once again. With respect to the various 15 Analysis 2, do you know from your
16 scenarios that you've set forth in your 16 experience or from the literature
17 February 6 report, February 27 report, 17. whether or not these types of estimates
18 March 23 report, and April 20 report, 18 have a generally accepted error rate?
19 which of the Analysis 2 scenarios in 19 A. No, I don't believe that
20 your opinion to a reasonable degree of 20 they do.
21 scientific probability best represents 21  Q. With respect to your work
22 what you believe the concentration of 22  asaprofessional, have you in your
23. MTBE will be at Station 6 in the future? | 23 professional work ever done a post-audit
24 A. I'mnot sure that any one 24 analysis of any of your predictions for
Page 790 Page 792
1 of them is better than another. I mean, 1  MTBE concentrations at any of the other
2 they are all roughly the same result, 2 sites you've worked at?
3. and so that's what I'm really testifying 3 A. I don't know if I would
4 about. Not so much specifically is the 4 call it a post-audit analysis. We've
5 number 17 or is it 18; that's not so 5 certainly had situations where we have
6 much my conclusion as it is the 6 projected sort of either the timing or
7 generality of what we're seeing. 7 concentration of the arrival of a
8 Q. And the generality that you 8 contaminant and then, you know, lived to
9 are seeing is what? 9 see or experience what actually occurred
10 A. Isa peak concentration in 10 _at those locations.
11 that range for Analysis 2 and then a 11 Q. And did you ever document
12 decline in concentration over time and 12 any of those observations regarding
13 eventually a longer term, more fixed 13. whether or not the predictions that you
14 concentration. 14 made came to pass in a peer-reviewed
15 Q. With regard to the 15 journal article?
16 precision of your estimates using 16 A. Ina peer-reviewed journal
17 Analysis 2, can you state toa 17 article?
18 reasonable degree of scientific 18 Q. Yes, sir.
19 probability what the confidence interval | 19 A. No, not in a peer-reviewed
20 is that bounds those estimates? 20 journal article.
21 A. Ican't really state that 21 Q. With respect to your
22 except there's a certain range of mass 22 professional work for any of the
23 that's been, you know, input into the 23 modeling that you have performed, have
24 aquifer over time. So depending on 24 —youever conducted a formal post-audit
6 (Pages 789 to 792)
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1 analysis to determine whether predicted 1 because we don't have the data that
2 concentrations using the model actually 2 would allow us to do that.
3 occurred in reality? 3 Q. Can you for the jury in
4 A. AsI said, I don't think 4 this case quantify the precision of your
5 I've done a formal post-audit analysis. 5 estimates of the future concentration of
6 Thave certainly, you know, seen results 6 MTBE in Station 6 wells such that they
7  post-projection in that sense, but that 7 would know what the upper bound limit is
8. wasn't a formal post-audit as you are 8 and what the lower bound limit is?
9 describing. 9 A. Well, I think what we did
10 Q. With respect to the 10 isarange of assessments. We did --
11 precision of the estimates that you have 11 and I would say that our Analysis |
12 made in this case, what precisiondo you |12 assessment represented more of an upper-
13 assign to the estimated future 13 range estimate and our Analysis 2C was
14 concentration of MTBE using Analysis2 |14 more ofa lower range. But they are
15 for Station 6 wells? 15 both, you know, reasonable scenarios.
16 A. Well, I think what I'm 16 Certainly they're both -- in both cases
17 testifying about here is that the most 17 there could be more mass there than what
18 likely of the scenarios that we 18 we've used. But they are reasonable
19 developed in Analysis 2 is the 2,000- 19 scenarios, so ] would use them as a
20 gallon release scenario, that 20 range.
21 Analysis 2C. 21 Q. With respect to the
22 And the reason for that is 22 Analysis 2 that you performed in this
23 if you look at the area of capture zone 23 case, and specifically the projections
24 ~— for Station 6, it is approximately 7 24  inscenario 2C, can you quantify with
Page 794 Page 796
1 miles. And if you look at the multitude 1 any reasonable degree of scientific
2 of sources that are in that area, the 2 probability what the precision is of
3 total sort of mass that's in the capture 3 that estimate?
4 zone associated with the C scenario is 4 A. I don't think I can express
5 more likely than the A or B scenarios. 5 that as a percent precision, no.
6 Q. And what is the precision 6 Q. With regard to Analysis 1
7 that bounds that estimate using the 2C 7 for purposes of this case, can you
8 scenario? 8 quantify for the jury to any reasonable
9 A. Yeah, I can't really 9 degree of scientific probability the
10 express it in that form because the 10 accuracy or precision of the estimates
11. mass, the quantum of the mass is 11. of future MTBE concentrations using that
12 unknown. 12 scenario?
13 Q. With regard to the quantum 13 A. I don't think I could
14 of mass, can you tell the jury in this 14 express it that way. All I'm saying is
15 case what the precision is regarding the 15 that when we look at the total mass
16 estimate of the quantum of mass? 16 that's in the capture zone for -- in
17 MR. GREENE: Object to form. 17 Analysis 1, that that represents a
18 A. I'm not -- what we did was 18 reasonable estimate of the mass that's
19 we looked at likely release scenarios at 19 inthe capture zone. If there's mass in
20 these sites. We looked at the total 20 the capture zone, it is going to arrive
21 mass that was in the capture zone for 21 in the future at Station 6.
22 these wells. And those things represent 22 Q. And I'll ask the question
23  areasonable scenario. But beyond that, 23 again: Can you with any mathematical
24  wecan't statistically bound that 24 precision quantify for the jury to any
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1 reasonable degree of scientific 1 available. And there is an
2 probability the precision of your 2 understandable reason why that data set
3 estimates of future MTBE concentrations 3 isnot available. There's really no way
4 in Station 6 wells using Analysis 1? 4 to, you know, accurately bound that in a
5 A. Ifyou are looking for some 5 way that you could then statistically
6 statistical measure of the precision, I 6 test it.
7 can't do that. 7 So what we did is take the
8 Q. With regard to the method 8 same approach that they did. And, you
9 that you employed in Analysis 1, based 9 know, historically the problem was that
10 on your review of peer-reviewed 10 MTBE mass wouldn't really be discovered
11 engineering and scientific literature, 11 until it impacted a supply well. So
12 can you tell us whether: there is a 12 we're now going back to sources saying
13 generally accepted or known error rate 13 why aren't we able to see this before it
14 using that method to predict future 14 impacts a supply well.
15 concentrations of contaminants in wells 15 And then, you know, the
16 like MTBE in Station 6? 16 development -- the method that they
17 A. I mean, I think there's an 17 developed was to say, you know, look for
18 error rate inherent in the model; in 18 evidence of the discharge, estimate the
19 other words, there's a way to describe 19 mass associated with that discharge, and
20 whether the model can accurately 20 then model that forward to see what
21 simulate the migration of MTBE. But the | 21 impacts that may have in the future. So
22 other part of it is the mass that you 22 that's really the approach that we took
23 are putting into the model. And that's, - | 23 _ here.
24 you know, classically in Long Island 24 Q. With respect to Analysis 1,
Page 798 Page 800
1 MTBEcontamination cases, that's been 1 did you calculate a confidence interval
2 the great unknown. 2 which represents to a reasonable degree
3 So there's a paper, I think 3 of scientific probability the accuracy
4 _ it's by Weaver, Haas, and Sosik, that 4 or precision of the predictions of
5 describes the problem of trying to 5 future MTBE impacts in Station 6 wells?
6 quantify MTBE mass and understanding, 6 A. Well, we did an analysis
7 you know, where that MTBE mass is. The} 7 _ that just used target calibration
8 approach that they are laying out is to 8 points, and we found that the model was
9 estimate, or if you have evidence of a 9 able, over that period of 2004 to 2008
10 major discharge to calculate or estimate 10 was able to accurately describe what
11 the MTBE mass associated with that 11 happened at those points within 1.8 ppb
12 discharge and then, you know, model that |12 or so. So that is sort of one measure
13 forward or project forward where that 13 of that.
14 goes. So really that's the approach 14 Q. Did you for purposes of
15 that we took here. 15 your opinions in this case use any
16 Unfortunately, one of the 16 generally accepted statistical method
17 characteristics of MTBE that was 17. and calculate a confidence interval
18 discovered later is that the ways that 18 which would permit you to a reasonable
19 it's been monitored at discharge station 19 degree of scientific probability to tell
20 sites, which was really developed for 20 the jury what the accuracy or precision
21 some of the other gasoline contaminants, | 21 is of the estimates of future MTBE
22 has been inadequate to characterize 22 impacts in Station 6 wells using
23 MTBE, especially MTBE mass. So there's, 23 Analysis 1?
24 really no way with the data set that's 24 A. Yeah, I don't think it's
8 (Pages 797 to 800)
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1 possible to do that with the data set 1 think there's a model that's ever been

2 that we have on MTBE in this aquifer. 2 created that has no error in it.

3 Q. Can you quantify to any 3 Really -- but error is, you know, an

4 reasonable degree of scientific 4 interesting question because it really

5 probability what the precision or 5 depends on the problem that you are

6 accuracy is using any generally accepted 6 using the model to address. So any

7 statistical method for the future 7 model has, you know, some kind of

8 impacts of MTBE in Station 6 using 8 difference in it compared to what

9 Analysis 1? 9 happens in reality.
10 A. Well, I said, I think I 10 Q. With respect to the
11 said we didn't use any statistical 11 question that was being addressed here,
12 analysis to do that kind-of an estimate, 12 was it your objective to predict
13 SO... 13 precisely what the concentration of MTBE
14 Q. You indicated that there 14 would be in Station 6 using the analysis
15 are known error factors using modeling. {15 you employed?
16 You were referring to modeling using 16 A. I don't know that
17. MT3D? 17 "precisely" is the word I would use. I
18 A. Inany model. 18 mean, what we're looking to do is that
19 Q. And with regard to your 19  -- the objective of our study is that a
20 experience, what is the generally 20 treatment plan needs to be designed for
21 accepted and known range of error using | 21 Station 6.
22 deterministic models to predict the 22 And we know that there's
23 concentration of a solute like MTBEina |23 MTBE in the groundwater that's
24 well in the future? 24 intercepted by Station 6. So one of the

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1 A. I'm not sure I understand 1 questions that a design engineer has is

2 the question. 2 how much MTBE, in terms of

3 Q. With respect to the models 3 concentration, is going to occur at this

4 that you've operated, particularly 4 facility and how long is it going to

5 MT3D-- 5 last? Because either one of those

6 A. Uh-huh. 6 questions could influence the selection

7 Q. --do you know what in the 7 — of specific remedial technology that's

8 literature is the generally accepted and 8 used at that facility. To some extent

9 known error rate that bounds predictions 9 it has to be somewhat of a conservative
10 of future concentrations of a solute 10 analysis when you do that. Your goal is
11. like MTBE in a well in the future? 11 that you are protecting the quality of,
12 A. Yeah, I don't think -- I 12 you know, potable drinking water.
13 don't know of a generally accepted error | 13 So that was really the goal
14 rate like that. 14 of this, was to say we know that there's
15 Q. When you used the term 15  MTBE that has been discharged into the
16 there there are some generally accepted 16 aquifer within the capture zone of
17 error rates, what were you referring to? 17 Station 6. So knowing what information
18 A. I don't know if -- did I 18  wedo have, what's a reasonable estimate
19 say generally accepted error rates? 19 — of what those concentrations would be in
20 Q. In response to the question 20 the future so that when we design our --
21 _was there generally accepted, you said 21 or select our treatment technology, it
22 you knew there were some error rates. 22 is going to be adequately protective of
23 A. Well, I mean, any model is 23 that drinking water source.
24 a approximation of reality. So I don't 24 Q. And with regard to the

9 (Pages 801 to 804)
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1 Analysis 1, you know, I couldn't state 1 probability exactly when MTBE first
2 from Analysis 1 by itself any 2 entered the groundwater system at those
3 information about when a discharge 3 locations?
4 occurred. 4 MR. GREENE: Object to the
5 Q. With regard to Analysis 2 5 form.
6. for Station 6, can you state an opinion 6 You can answer.
7 to.a reasonable degree of scientific 7 A. I'm sorry, I'm going to
8 probability exactly when gasoline with 8 have to have you repeat it, just because
9 -MTBE was first released into the 9 [Jost it.
10 groundwater beneath each of those 10 MR. GREENE: | apologize,
11 stations? 11 too.
12 A. Well, for Analysis 2 we had 12 Q. With respect to the
13 release dates or we had spill number 13 stations where the exact date of the
14 dates. So sometimes those spill number {14 release may not be known because you are
15 dates are associated with when the 15 working from the spill date and the
16 contamination was discovered. So they 16 ‘report of the contamination, are you
17 may not exactly replicate the date that 17 able to state an opinion to any
18 the spill occurred. We used them as a 18 reasonable degree of scientific
19 tool to estimate when spills occurred, 19 probability exactly when MTBE was first
20 but there's some difference between some | 20 _ released into groundwater at that site?
21 of those dates and the actual spill 21  ~=A.. Idon't think you can say
22 ~~ dates. 22 when MTBE absolutely first reached
23 Q. Fair to say that you used 23 groundwater. Some of the sites that we
24 the spill report date and that the 24 looked at had multiple spill reports.
Page 846 Page 848
1 actual release into groundwater occurred 1 So in some cases I think there was cases
2 prior to that date but you don't know 2 where there was an investigation done
3 exactly when? 3 initially and then there was an
4 A. I think it's fair to say 4 investigation done later.
5 that if we are looking at a case 5 Sometimes the later results
6 where -- especially the cases, as a lot 6 were different than the initial
7 of them were, where the discovery was 7 results. So, you know, from that you
8 related to tank closure and replacement, 8 might conclude that the later spill
9 so you are going in, you are replacing a 9 date -- that there was some kind of
10 tank, there is no report of any 10 discharge in between those two dates,
11 discharge at a site, you are digging 11 youcan bound it. And in all the cases
12 into the ground, you're removing tanks, 12 I think you could bound the upper end
13 and you are seeing the tanks have holes 13 because you know when it was
14 in them, which is often the case, or you 14 discovered. But I don't -- in many
15 are seeing a substantial amount of soil 15 cases you can't bound the lower end
16 contamination, that it's fair to say 16 completely, that's true.
17 that the discharge that caused that 17 MR. STACK: The videographer
18 contamination occurred prior to that day |18 has told us we are about to run out of
19 that you discovered it. That's fair to 19 tape, Mr. Terry. So we will take a
20 say. 20 break and resume promptly, if we can.
21 Q. And with regard to those 21 MR. GREENE: Great. Thanks.
22 stations where the date of release is 22 THE VIDEOGRAPHER: We're
23 unknown, can you state with any 23 going off the record. The time is
24 reasonable degree of scientific 24 10:34a.m. This is the end of tape 1 of
20 (Pages 845 to 848)
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1 MTBE being present at 113-40 Merrick 1 interval to indicate that there is MTBE
2 Boulevard; am I correct? 2 present in the groundwater system at the
3 A. Right. Initially there's 3 concentrations shown in Figure 4?
4 an innermost area of contour that we had 4 A. I'll assume you mean
5 assigned a value of 78,802, but that was 5  $§6-022. No, there's no specific
6 actually the total VOC concentration at 6 monitoring well data in between those
7. that location. The MTBE component of 7 two points.
8 that was 65,900 ppb. So we changed the 8 Q. With regard to the distance
9 value of that in the model to reflect 9° ‘between S6-025 and S6-026, is there any
10 =the MTBE value. 10 groundwater monitoring data between
11 Q. And do you know with 11 those two points to indicate that the
12 respect to that particular value whether 12 concentration of MTBE reflected on
13 it was a value that was observed in a 13‘ Figure 4 has actually been detected
14 soil vapor extraction well? 14 through testing in the groundwater in
15 A. I don't recall. 15 that particular transect?
16 MR. STACK: The videographer | 16 A. No, there is not.
17 has indicated that we're about ready to 17 Q. With regard to other areas
18 run out of tape, so we'll go off the 18 on this map, there is a depiction which
19 record and afford him an opportunity to 19 you have background levels, and the
20 do so and give you a chance to stretch 20 background levels for the area lying --
21 your legs as we head into the home 21 I'm going to the left side of the map,
22 — stretch. 22 Dave -- between 3651 down to 3161, that
23 THE VIDEOGRAPHER: We're | 23 would appear to be approximately 2.8
24 going off the record. The time is 24 miles, and there is concentration of
Page 1026 Page 1028
1 3:04 p.m. This is the end of tape 4 of 1 MTBE that's illustrated as being present
2 _ the deposition of David Terry. 2 there.
3 (Recess.) 3 I don't want to try to
4 THE VIDEOGRAPHER: Back on; 4 _ interpret the map because the color is
5 the record. The time is 3:14 p.m. This 5 sometimes difficult. What is the
6 is the start of tape 5 of the deposition 6 concentration of MTBE that is
7 of David Terry. 7 illustrated between well 3651 and 3161
8 BY MR. STACK: 8 on Figure 4 in your rebuttal report?
9 Q. Mr. Terry, with respect to 9 A. I believe that's 0.1 ppb.
10 ‘the Analysis | that you performed, you 10 Q. And is there any
11 made certain changes that you've 11 groundwater monitoring well between
12 indicated on page 21 to vary the contour {12 those points to indicate that there's
13 line in proximity to well 6D and to 13 any contamination present in the
14 revise the maximum concentration contour} 14 groundwater at those locations?
15 at the service station at 113-40 Merrick 15 A. Not depicted here, no.
16 ~=Boulevard. 16 Q. With regard to the area in
17 In looking at Figure 4, 17 the vicinity of S6-023, there is
18 there are areas within this depiction; 18 contamination in the vicinity of that
19 for example, the area going from S6-005 |19 location. And there is a plume or area
20 downto $6-002. That area, accordingto | 20 of contamination which appears to be
21 the scale on the map, is approximately a | 21 lying north of the pyramid to show the
22 mile anda half. 22 location.
23 Do you have any monitoring 23 Is there any evidence that
24 — well data in that mile-and-a-half 24 at the Service Station S6-023 that
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1 groundwater is moving northward and that; 1 Q. Now, with regard to the
2 contamination at that site is moving 2  §6-002, that one location, are there
3. northward? 3 other wells at that service station
4 A. I don't think so. 4 indicating that there are lower
5 Q. Is there any data in the 5 concentrations or no MTBE present in the
6  reddish-pink area surrounding S6-023 to 6 groundwater?
7 confirm that there is MTBE present in 7 A. There may be.
8. the groundwater system at the 8 Q. With regard to the areas
9 concentration shown on Figure 4? 9 that are illustrated on Figure 4, did
10 A. Well, in the middle, 10 you subsequent to your first report
11 $§6-023, is where the data is. That's 11 utilize any computer assistance to
12 where we do have data: 12 illustrate the areas of contamination
13 Q. And the only point is where 13 present in Layer | in the aquifer in
14 the one well is located at S6-023; am I 14 2004?
15 correct? 15 A. So subsequent to the first
16 A. Right. 16 report that I did, did ] use a computer
17 Q. Is there any data to 17 to do what?
18 indicate anywhere else in that reddish 18 Q. To illustrate the areas of
19 area surrounding S6-023 that there is a 19 contamination present in 2004 in Layer |
20 monitoring well from which data obtained |20 which you used as input values.
21 from sampling in 2004 indicates the 21 A. Did I use the computer
22 concentration of MTBE in groundwater i is |22 to -- I'm not sure what you're asking
23 as it's reflected on Figure 4? 23 about the computer.
24 A. Well, no. I mean, it was 24 Q. Okay. Looking at S6-002,
Page 1030 Page 1032
1 based on the 6023, but there's no 1 the area that is shaded around that red
2 additional point just, you know, a short 2 and tan, for lack of a better term, that
3 distance from S6-023 in addition to 3 area, did you use a computer graphics
4 that, if that's what you're asking me. 4 package to illustrate that area for
5 Q. In looking at S6-002, you 5 purposes of your rebuttal model?
6 have a single point at that service 6 A. Well, we just -- we created
7 station which reflected a concentration 7 this input contour map using a computer.
8 in 2004 that is reflected in the 8 Q. And what computer model did
9 tables. And you've drawn an area around 9 you use?
10 that to indicate what the area of 10 A. That's not a computer
11 contamination may be emanating from 11 model; it's just a -- it is a way of
12 §6-002, the station at 84-04 Parsons 12 drawing the contour.
13. Boulevard; am J correct? 13 Q. And in terms of identifying
14 A. Yes. 14 the area in which certain contours would
15 Q. Other than the well which 15 be located, did you do that by hand or
16 had 14,400 parts per billion of MTBE, is |16 did you let the computer prepare the
17 there any other well downgradient or to 17 illustration?
18 the southeast of that location to 18 A. No. We looked at using a
19 confirm that there's MTBE present at 19 computer to do this contouring, but the
20 that site in the concentrations 20 areas involved -- the areas assigned by
21 indicated in the Figure 4 in your 21 the computer to these values were very
22 rebuttal report? 22 large, so we refined this -- you know,
23 A. No. This was just based on 23 we elected to use a hand-based
24 the 6-002. 24 contouring method instead, which, you
66 (Pages 1029 to 1032)
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